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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   TELESIGN CORPORATION,                 )
                                           ) Case No. 2:16-2106-PSG-SS
11             Plaintiff,                  )
     v.                                    )
12                                         ) [PROPOSED] ORDER GRANTING
     TWILIO, INC.,                         ) EXTENSTION TO FILE RULE 26(f)
13
                Defendant.                 ) REPORT
14
                                           )
                                           )
15                                         )
                                           )
16                                         )
         This matter came before the Court pursuant to a stipulation filed by the parties,
17
     seeking an extension until March 3, 2017, fourteen days before the Case Management
18
     Conference, to file the parties’ joint Rule 26(f) Report.
19
           Accordingly, IT IS HEREBY ORDERED as follows: The parties have until
20
     March 3, 2017 to file the joint Rule 26(f) Report with the Court.
21
           IT IS SO ORDERED.
22
     Dated: _______________________                ______________________________
23                                                 The Honorable Philip S. Gutierrez
24                                                 U.S. District Court Judge

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                                                                   [PROPOSED] ORDER GRANTING
                                                            EXTENSION TO FILE RULE 26 (f) REPORT
